                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF IOWA

                                                  *
UNITED STATES OF AMERICA,                         *
                                                  *          3:00-cr-00071
       Plaintiff,                                 *
                                                  *
       v.                                         *
                                                  *
JUAN LEDEZMA-RODRIGUEZ,                           *          ORDER
                                                  *
       Defendant.                                 *
                                                  *

       Before the Court is Defendant Juan Ledezma-Rodriguez’s Motion to Reduce Sentence,

filed on January 10, 2017. Clerk’s No. 199. The Government filed a resistance in response on

February 27, 2017. Clerk’s No. 200. The matter is fully submitted.

       On February 28, 2002, Defendant was sentenced to two life terms of imprisonment and

one thirty-year term, all three terms to run concurrently; he was further sentenced to one sixty-

month term of imprisonment to be served consecutively to the other three terms. Clerk’s

No. 144. The sentences were imposed after Defendant was found guilty of two counts of

conspiracy to distribute cocaine and methamphetamine in violation of 21 U.S.C. § 841(b)(1)(A),

one count of possession of cocaine with intent to distribute in violation of 21 U.S.C.

§ 841(b)(1)(C), and one count of use of a firearm in relation to a drug trafficking offense in

violation of 18 U.S.C. § 924(c). Id. Defendant appealed his convictions and sentences. Clerk’s

No. 145. The Eighth Circuit Court of Appeals affirmed on September 9, 2002. Clerk’s No. 163.

       On September 12, 2003, Defendant petitioned this Court for relief pursuant to 28 U.S.C.

§ 2255, alleging he suffered from constitutionally deficient assistance from his attorney leading

up to his trial. Clerk’s No. 168. The Court denied Defendant’s § 2255 petition on March 17,

2004. Clerk’s No. 178. On April 8, 2004, Defendant filed a motion for reconsideration of the
denial of § 2255 relief; this Court denied the motion on May 18, 2004. Clerk’s Nos. 180, 181.

Defendant appealed this Court’s rulings on his § 2255 request, and the Eighth Circuit Court of

Appeals affirmed. Clerk’s Nos. 182, 192.

       On July 19, 2016, Defendant filed a motion for modification of his sentence, requesting

that this Court reduce his sentence pursuant to 18 U.S.C. § 3582(c)(2) and U.S. Sentencing

Guidelines § 1B1.10. Clerk’s No. 197. The Court denied this motion on August 1, 2016.

Clerk’s No. 198.

       In his present motion, Defendant once again asks this court to reduce his sentence, this

time in light of an order issued by the United States District Court for the Eastern District of New

York in United States v. Holloway, 68 F. Supp. 3d 310 (E.D.N.Y. 2014). Clerk’s No. 199. Since

Holloway, pro se defendants in numerous jurisdictions have argued that that case stands for the

proposition that sentencing courts have authority to unilaterally reduce defendants’ sentences.

See, e.g., United States v. Sumner, No. 00CR383-01, 2016 WL 5415608, at *3 (D.D.C. Sept. 28,

2016); Brown v. United States, No. 1:00-CR-290, 2016 WL 4745822, at *2 (N.D. Ohio Sept. 13,

2016); Acuna v. United States, No. 07-00615, 2016 WL 3747531, at *2 (D. Haw. July 8, 2016).

In his motion, Defendant argues,

       The Holloway doctrine recognizes that the District Courts have the discretion,
       inherent in our American system of justice, to subsequently reduce a defendant’s
       sentence in the interest of fairness “even after all appeals and collateral attacks have
       been exhausted and there is neither claim of innocence nor any defect in the
       conviction or sentence” when it has clearly been demonstrated that the original
       sentence sought by the United States and imposed by the District Court (even when
       mandated by law) is revealed to be disproportionately severe.

Clerk’s No. 199 at 1–2 (quoting Holloway, 68 F. Supp. 3d at 311).

       However, Defendant misapprehends the Holloway court’s order. The Holloway court did

not conclude or even suggest that it had unilateral discretion to reduce the defendant’s sentence.

Holloway, 68 F. Supp. 3d at 311. Rather, the court recognized that the prosecuting U.S.


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Attorney alone held the power to affect the defendant’s sentence because the prosecutor wields

the discretion, which “inheres in our adversarial system,” to seek to vacate one or more of the

defendant’s convictions. Id.

       In Holloway, the court vacated two of the defendant’s convictions and was therefore able

to resentence the defendant to a lesser term of incarceration; however, the salient factor was the

prosecutor’s decision to agree to the vacatur, without which the court had possessed no authority

to act. Id. at 315–16. Holloway demonstrates that “the Department of Justice, as the

government’s representative in every federal criminal case, has the power to walk into

courtrooms and ask judges to remedy injustices.” Id. at 316. The Holloway court’s written order

is in fact a plea to U.S. Attorneys throughout the nation to exercise their prosecutorial discretion

“in the spirit of fairness” to achieve just results for defendants even after they have been

convicted. Id. at 311, 317 (“A prosecutor who says nothing can be done about an unjust sentence

because all appeals and collateral challenges have been exhausted is actually choosing to do

nothing about the unjust sentence.”).

       The courts, on the other hand, are strictly limited in their ability to modify sentences.

Indeed, as a general matter, “court[s] may not modify a term of imprisonment once it has been

imposed.” 18 U.S.C. § 3582(c). There are only three narrow exceptions to this rule: a court can

modify a term of imprisonment (1) upon motion of the Bureau of Prisons; (2) when expressly

permitted by statute; or (3) when the applicable sentencing range of the U.S. Sentencing

Guidelines has been amended and made retroactive. See 18 U.S.C. § 3582(c)(1)(A), (c)(1)(B),

(c)(2). Defendant has not alleged any of these exceptions are applicable to the facts of his case,

and there is therefore no basis in the record to conclude that the Court has the authority to modify

Defendant’s term of imprisonment at this time.




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       Although the Court has no authority to reduce Defendant’s sentence, it has had occasion

to reevaluate Defendant’s sentence and concludes the sentence is manifestly unjust. Within the

last few years, Defendant submitted a pro se petition requesting clemency from the President of

the United States. At that time, the undersigned corresponded by email with the prosecuting

U.S. Attorney and the U.S. Pardon Attorney in support of Defendant’s petition. A reproduction

of that email, dated September 23, 2016, is attached to this order. In that email, the undersigned

described how Defendant was charged, convicted, and sentenced in an era in which the

sentencing Court had no discretion to craft an appropriate sentence in light of the circumstances

of the case. If Defendant were prosecuted for the same conduct today, his maximum exposure

would be to 30 years of incarceration as opposed to the mandated life term he received in 2002.

This discrepancy is a purely arbitrary by-product of the points in time at which the offense

conduct was prosecuted and Defendant was sentenced; it has no basis in the offense conduct

itself, in the character of the Defendant, or even in the policy goals of sentencing espoused by

our criminal justice system. See 18 U.S.C. § 3553(a)(2).

       There is no justice in the mandatory sentence Defendant received. As did the court in

Holloway, this Court is compelled to exhort the prosecuting U.S. Attorney to revisit and review

this case with a critical eye. At this time, the Government has expressly declined to make any

concessions or take any action in this case. See Clerk’s No. 200. But in the interest of justice—

an interest necessarily shared by the Government, Defendant, and this Court—it would be a most

laudable course for the U.S. Attorney to consider taking any available steps toward the remedy

of the inauspicious and undeserving fate that has befallen this Defendant.




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       Unless and until such steps are taken, the Court does not have the authority to grant

Defendant’s request. Therefore, this Motion to Reduce Sentence must be and is DENIED.

       IT IS SO ORDERED.

       Dated this 10th day of April, 2017.




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